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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

TERRY W. ROY,
Plaintiff,

v-

CITY OF GARDNER, CHARLES J. MANCA,
Individually and in his Capacity as
Mayor of the City of Gardner, JAMES E.
DUFORT, Individually and in his
Capacity as Chief of Police for the
City Of Gardner, and ROGER WRIGLEY,
Individually and in his Capacity as a
Sergeant for the Gardner Police
Department,

Defendants.

 

ORDER

GORTON, J.

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Civil Action No.
01“40137-NMG

[D@@KETE/D)

For the reasons set forth in a Memorandum to follow,

defendants' motion to dismiss (Docket No. 4) is:

1) with respect to Counts I, III, IV, V, VI, VIII (as to
malicious prosecution) and IX, ALLOWED; and

2) with respect to Counts II, VII, VIII (as to abuse of

process) and X, DENIED.

So ordered.

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Nathaniel M. Go}{on
United States District Judge

Dated: SeptemberZO, 2002

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